Case 17-68951-wlh         Doc 47    Filed 08/12/20 Entered 08/12/20 10:57:33         Desc Main
                                    Document      Page 1 of 8



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:

MICHELLE ADRIENNE LALIBERTE                   :        CHAPTER 13
                                              :
                Debtor.                       :        CASE NO.: 17-68951-WLH
                                              :


                                   MOTION TO INCUR DEBT

         Comes now, MICHELLE ADRIENNE LALIBERTE, Debtor in the above styled Chapter

13 case, by and through undersigned counsel, and files this “Motion to Incur Debt” (the “Motion”)

showing to this Honorable Court the following:

                                                  1.

         The Court has jurisdiction in this matter pursuant to 28 U.S.C. Section 1334, 28 U.S.C.

Section 151 et seq., and 11 U.S.C. Section 101 et seq.

                                                  2.

         Venue is appropriate pursuant to 28 U.S.C. Section 1409.

                                                  3.

         This matter is a core proceeding as defined in 28 U.S.C. Section 157.

                                                  4.

         Debtor filed for relief in the above-styled Chapter 13 case on October 31, 2017 and

Debtor’s case Chapter 13 Plan was confirmed on March 14, 2018

                                                  5.

         Debtor is seeking permission from the Court to allow her to incur new mortgage debt as

Debtor would like to purchase a new residence (the “Property”) and move out from her existing
Case 17-68951-wlh       Doc 47     Filed 08/12/20 Entered 08/12/20 10:57:33            Desc Main
                                   Document      Page 2 of 8



rental residence.



                                                   6.

       Debtor seeks to incur conventional mortgage debt of up to $255,000 for a term of up to 360

months and interest rate not to exceed 4.0% with amortized monthly payments not to exceed

$1,400.00 per month in principal and interest. Debtor already has secured a loan commitment from

LoanDepot.com that satisfies these conditions.          The monthly loan payment will be less than

Debtor’s current rental payment, which will help her budget and be a benefit to the estate.

                                                   7.

       Debtor will file an amended budget reflecting the new mortgage payment if this Motion is

approved and the subsequent purchase is completed.

                                                   8.

       The Debtor respectfully requests that she be allowed to incur the new mortgage debt for

the purchase of the Property as specified above.

WHEREFORE Debtor prays:

       (a) That this “Motion” be filed, read and considered;

       (b) That the Debtor be allowed incur new mortgage debt to purchase a home; and

       (c) That this Honorable Court grants such other and further relief as it may deem just and

           proper.

Dated this 12th day of August 2020

                                                         Respectfully Submitted,


                                                         _______/s/_______
                                                         Howard Slomka
                                                         Georgia Bar # 652875
                                                         Slipakoff and Slomka, P.C.
Case 17-68951-wlh   Doc 47   Filed 08/12/20 Entered 08/12/20 10:57:33   Desc Main
                             Document      Page 3 of 8



                                           Attorney for Debtor
                                           3350 Riverwood Pkwy
                                           Suite 2100
                                           Atlanta, GA 30339
Case 17-68951-wlh        Doc 47    Filed 08/12/20 Entered 08/12/20 10:57:33            Desc Main
                                   Document      Page 4 of 8



                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:

MICHELLE ADRIENNE LALIBERTE                  :       CHAPTER 13
                                             :
               Debtor.                       :       CASE NO.: 17-68951-WLH
                                             :


                                    NOTICE OF HEARING

     PLEASE TAKE NOTICE that MICHELLE LALIBERTE as filed a MOTION TO
INCUR DEBT (the “Motion”).

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1403, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303 at
10:20 A.M. on September 16, 2020

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how, and on whom you served the
response. Mail or deliver your response so that it is received by the Clerk at least two business
days before the hearing. The address of the Clerk’s Office is: Clerk Room 1340, U.S. Bankruptcy
Court, 75 Ted Turner Drive, SW, Atlanta, GA 30303. You must also mail a copy of your response
to the undersigned at the address stated below.
Dated this 12th day of August, 2020

                                                     Respectfully Submitted,

                                                     ______/s/_______
                                                     Howard Slomka, Esq.
                                                     GA Bar #652875
                                                     Attorney for Debtor
                                                     Slipakoff and Slomka, PC
                                                     3350 Riverwood Pkwy
                                                     Suite 2100
                                                     Atlanta, GA 30339
                                                     Tel. (404) 997-3732
Case 17-68951-wlh         Doc 47     Filed 08/12/20 Entered 08/12/20 10:57:33               Desc Main
                                     Document      Page 5 of 8




                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:

MICHELLE ADRIENNE LALIBERTE                     :       CHAPTER 13
                                                :
                Debtor.                         :       CASE NO.: 17-68951-WLH
                                                :


                                  CERTIFICATE OF SERVICE

        This is to certify that I have this day served all interested parties and all creditors listed on
the attached matrix in the foregoing matter with a copy of these pleadings by depositing in the
United States Mail a copy of the same in a properly addressed envelope with certified postage
thereon addressed as follows:

Nancy J. Whaley (served via ECF)
Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303

Michelle Adrienne LaLiberte
1621 Akers Ridge Drive SE
Atlanta, GA 30339


SEE ATTACHED FOR ADDITIONAL CREDITORS

Dated this 12th day of August, 2020

                                                        Respectfully Submitted,

                                                        ______/s/________
                                                        Howard Slomka
                                                        Georgia Bar # 652875
                                                        Slipakoff and Slomka, P.C.
                                                        Attorney for Debtor
                                                        3350 Riverwood Pkwy
                                                        Suite 2100
                                                        Atlanta, GA 30339
Case 17-68951-wlh   Doc 47   Filed 08/12/20 Entered 08/12/20 10:57:33   Desc Main
                             Document      Page 6 of 8
Case 17-68951-wlh   Doc 47   Filed 08/12/20 Entered 08/12/20 10:57:33   Desc Main
                             Document      Page 7 of 8
Case 17-68951-wlh   Doc 47   Filed 08/12/20 Entered 08/12/20 10:57:33   Desc Main
                             Document      Page 8 of 8
